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                                                              February 27, 2023
Hon. Raymond J. Dearie
United States District Court Judge
Eastern District of New York
225 Cadman Plaza East
Brooklyn, NY 11201

                           RE:    Michael Spinelli v. United States, 97-cr-209-1 (RJD)

Dear Judge Dearie,
       I am writing to provide the Court with an up-to-date BOP progress report that
Mr. Spinelli received this month. This report provides additional support for Mr.
Spinelli’s compassionate release motion, including by clearly noting that he is a
minimum recidivism level, p. 1, that he has “outstanding work evaluations,” p. 2, that
he “continuously participates and completes classes,” p. 3, and that he has had “clear
[disciplinary] conduct” for 13 years, and only minor infractions for almost 20 years,
since 1994, p. 3.
       The report also includes “general comments” from BOP Case Manager Harris,
who explains that Mr. Spinelli “does not hesitate to assist with daily activities on the
housing unit,” that he is “reliable, responsible, and is always willing to help,” and that
he is “always respectful,” p. 6. Harris notes that these qualities are “very much
appreciated by staff.” Harris concludes that he has “confidence that [Mr. Spinelli] will
not violate any conditions of his release/probation” if he were granted compassionate
release. This is the third rave review of Mr. Spinelli’s character from the BOP
correctional staff at his current institution, who see Mr. Spinelli daily.
      I respectfully request that the Court take this additional information into
account, and urge the Court to grant Mr. Spinelli’s request for compassionate release.




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                                   Respectfully submitted,
                                       /s/
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